       Case 2:20-cv-00470-GMS Document 183 Filed 01/26/22 Page 1 of 4




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13
                           UNITED STATES DISTRICT COURT
14                               DISTRICT OF ARIZONA
15                                            CASE NO. 2:20-cv-00470-GMS
   Meta Platforms, Inc., et al.,
16                  Plaintiffs,               DEFENDANTS’OPPOSITION TO
         v.                                   PLAINTIFFS’ MOTION FOR LEAVE
17                                            TO FILE A SUR-REPLY RE:
                                              PLAINTIFFS’ REQUESTS FOR
18                                            ADDITIONAL DOMAIN NAME DATA
     Namecheap, Inc., et al.,                 AND PAYMENT INFORMATION
19                   Defendants.
20 AND RELATED COUNTERCLAIMS.
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       Case 2:20-cv-00470-GMS Document 183 Filed 01/26/22 Page 2 of 4




 1            Defendants and Counterclaimants Namecheap, Inc. (“Namecheap”) and WhoisGuard,
 2 Inc. (“WhoisGuard”) (together, “Defendants”) hereby submit their Opposition to Plaintiff
 3 and Counterclaim Defendant Meta Platforms, Inc. (“Facebook”) and Plaintiffs Instagram,
 4 LLC and WhatsApp LLC’s (collectively, “Plaintiffs”) Motion for Leave to File a Sur-Reply
 5 to Defendants’ Reply in Support of Brief Re: Plaintiffs’ Requests for Additional Domain
 6 Name Data and Payment Information (Doc. 179, “Motion for Sur-reply”).
 7                          MEMORANDUM OF POINTS AND AUTHORITIES
 8      I.       INTRODUCTION
 9            Plaintiffs argue that they should be granted leave to file a sur-reply to respond to new
10 arguments “based on factual misrepresentations” raisedin Defendants’ Reply. Contrary to
11 Plaintiffs’ arguments, Defendants did not make any factual misrepresentations or improperly
12 raise any new arguments in their Reply. Their Reply was properly limited to rebuttal of
13 arguments in Plaintiffs’ Opposition. Thus, Plaintiffs’ Motion for a Sur-reply should be
14 denied.
15      II.      ARGUMENT
16            The Local Rules do not allow parties to file sur-replies. SeeLRCiv 7.2. “Sur-replies
17 are highly disfavored and permitted only in extraordinary circumstances.” Fitzhugh v. Miller,
18 No. CV-19-04632-PHX-DWL, 2020 WL 1640495, at *9 (D. Ariz. April 2, 2020) (internal
19 quotation marks and citation omitted). No such extraordinary circumstances exist here.
20            First, Plaintiffs have not identified any “new” arguments in Defendants’ Reply. In
21 their Reply, Defendants argued that thetwo Southern District of Florida cases cited by
22 Plaintiffs in their Opposition, Dell Inc. v.BelgiumDomains, LLC, No. 07-22674-CIV, 2007
23 WL 6862342, (S.D. Fla. Nov. 21, 2007) and Transamerica Corp. v. Moniker Online
24 Services, LLC, 672 F. Supp. 2d 1353, 1366 (S.D. Fla. 2009), are distinguishable from the
25 instant case. Defendants’ Reply did not improperly introduce any new issues or arguments,
26 but merely responded to Plaintiffs’ arguments in their Opposition by distinguishing the cases
27 cited by Plaintiffs.
28            Second, Defendants did not “mislead” the Court or make any factually inaccurate

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         Case 2:20-cv-00470-GMS Document 183 Filed 01/26/22 Page 3 of 4




 1 representations in their Reply, as Plaintiffs contend. Defendants noted that in this case,
 2 Plaintiffs do not allege that Defendants themselves selected or owned any of the disputed
 3 domain names. All of the disputed domain names were selected and purchased by
 4 Defendants’ customers, who presented their chosen names to Namecheap for registration.
 5 By contrast, in BelgiumDomains, the defendantsthemselves identified available domain
 6 names they believed would be profitable because they contained third parties’ trademarks,
 7 and registered the disputed domains for their own use. 2007 WL 6862342, at *2, ¶ 18. In
 8 theTransamerica case, the court found that the defendant had “at least partial ownership” of
 9 the allegedly infringing domains. 672 F. Supp. 2d 1353, 1366 (S.D. Fla. 2009). Accordingly,
10 the facts in those cases are distinguishable from the present case.
11          In their Motion for a Sur-Reply, Plaintiffs falsely suggest that they have alleged that
12 Defendants themselves “selected” or “owned” the disputed domains in this case, but the
13 paragraphs of the First Amended Complaint (Doc. 56, “FAC”) they identify do not include
14 any such allegations. Rather, Plaintiffs citeonly toparagraphsin their FAC alleging that
15 Defendants “registered” domains. For example,paragraph 13 of the FAC alleges that when
16 the WhoisGuard’s proxy service is utilized, WhoisGuard registers the domain name and
17 licenses the domain back to the customer, who uses the domain. 1Registering a domain name
18 is not the same as “selecting” or “owning” the domain name, especially when a party
19 registering the domain does soon behalf of a customer, acting inits capacity as a domain
20 service provider.See LockheedMartin Corp. v. Network Solutions, Inc., 141 F. Supp. 2d 648,
21 650-51 (N.D. Tex. 2001)(“The word ‘registers,” when considered in context, obviously
22 refers to a person who presents a domain name for registration, not to the registrar.”).
23          The fact that a Defendant’s name is “listed as the registrant in the registrant name or
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     Plaintiffs cite also to Exhibit 8 to the FAC, which they represent to be a page from
   Namecheap’s website. Contrary to Plaintiffs’ arguments, this Exhibit does not show that
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   Defendants selected or owned the disputed domains, or that Defendants made any false
27 statement in their Reply. Moreover, the statement that Plaintiffs quote from that Exhibit
   (that the domain name registrant, and not the customer, “technically” owns the website) is
28 not accurate, either.

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       Case 2:20-cv-00470-GMS Document 183 Filed 01/26/22 Page 4 of 4




 1 registrant organization field” (FAC ¶ 111) does not necessarily imply that Defendants
 2 selected or own the domain names, either. Again, Defendants’ customers selected and owned
 3 the disputed domains in this case. Defendants claim no ownership interest in any of the
 4 disputed domains. See Docs. 133, 135 (Notices of Registrar’s Certificates lodging domains
 5 with the Court).
 6         Accordingly, there is nothing factually incorrect or improper about Defendants’
 7 Reply. Because Plaintiffs have failed to show that additional briefing is necessary or
 8 warranted, their Motion for Sur-Reply should be denied.
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     Dated: January 26, 2022             ROME & ASSOCIATES, A.P.C.
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12                                       By:       s/ Brianna Dahlberg
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15                                          And

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